Case 2:23-cv-03709-JKS-JRA Document 85 Filed 06/12/24 Page 1 of 2 PageID: 967




             IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF NEW JERSEY


TRUTEK CORP.,

               Plaintiff,                        Civil Action No..: 2:23-cv-3709
v.
                                                 Document Electronically Filed
PETER CHO; ABDUL GAFFAR;
SALVACION USA, INC.; SALVACION                   NOTICE OF VOLUNTARY
CO. LTD.; SALVACION R&D CENTER;                  DISMISSAL WITHOUT
SALVACION INTERNATIONAL, LLC;                    PREJUDICE AS TO
BIOSURE GLOBAL; SALVATION R.D.,                  DEFENDANT ABDUL
                                                 GAFFAR
                            Defendants.


 LAW OFFICE OF KEITH ALTMAN                LAW OFFICE OF STANLEY KREMEN, ESQ.
 Solomon Radner                            Stanley H. Kremen, Esq. (pro hac vice)
 (NJ SBN 283502018)                        4 Lenape Lane
 Keith Altman (pro hac vice)               East Brunswick, NJ
 33228 West 12 Mile Road,                  Telephone: (732)593-7294
 Suite 375                                 Facsimile: (732) 312-5218
 Farmington Hills, Michigan 48331          shk@shk-dplc.com
 Telephone: (248) 987-8929                 Attorney for Plaintiff
 SolomonRadner@kaltmanlaw.com
 KeithAltman@kaltmanlaw.com
 Attorneys for Plaintiff
____________________________________________________________________________________/

     NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

      NOW COMES Plaintiff, TRUTEK CORP., by and through its attorneys, and

hereby voluntarily dismisses Defendant Abdul Gaffar from this lawsuit in its entirety

without prejudice, pursuant to Fed.R.Civ.P. 41(a)(1)(A)(i).
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   Date: June 11, 2024              Respectfully Submitted,

                                    /s/ Solomon M. Radner
                                    Solomon Radner (NJ SBN 283502018)
                                    Keith Altman (pro hac vice)
                                    LAW OFFICE OF KEITH ALTMAN
                                    33228 West 12 Mile Road, Suite 375
                                    Farmington Hills, Michigan 48331
                                    Telephone: (248) 987-8929
                                    SolomonRadner@kaltmanlaw.com
                                    KeithAltman@kaltmanlaw.com

                                    LAW OFFICE OF STANLEY KREMEN, ESQ.
                                    Stanley H. Kremen, Esq. (pro hac vice)
                                    4 Lenape Lane
                                    East Brunswick, NJ
                                    Telephone: (732)593-7294
                                    Facsimile: (732) 312-5218
                                    shk@shk-dplc.com
                                    Attorneys for Plaintiff




SO ORDERED.

Date: June 12, 2024

/s/ Jamel Semper
Jamel K. Semper, U.S.D.J.




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